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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:10CR192
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )            TENTATIVE FINDINGS
                                              )
TERRY L. MOUNTAIN,                            )
                                              )
              Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 106). The government adopted the PSR (Filing

No. 115). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that

these Tentative Findings are issued with the understanding that, pursuant to United States

v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The Defendant objects to ¶¶ 42 (career offender status), and 76-79 (criminal history

points), arguing that Criminal History Category IV, rather than VI, should be applied. The

Defendant also moves for a downward departure or variance based on over representation

of criminal history, arguing that Criminal History Category III is more appropriate.

       The Defendant's objections to ¶ 42 will be heard at sentencing. The burden is on

the government by a preponderance of the evidence. If the Defendant is successful in his

challenge to ¶ 42, his objections to ¶¶ 76-79 will be heard, with the burden being on the

government by a preponderance of the evidence.

       Paragraph 7(c) of the plea agreement provides: “The Defendant agrees not to seek

or suggest a sentence reduction below the applicable Guidelines range for any reason.

The Defendant agrees that a Guideline sentence is a reasonable sentence.” Therefore,

the Defendant's motion for a downward departure or variance is denied.
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       IT IS ORDERED:

       1.     The Defendant’s objections to ¶ 42 (career offender status) will be heard at

sentencing and, if the Defendant is successful with respect to ¶ 42 his objections to ¶¶ 76-

79 (criminal history points) will be heard;

       2.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing; and

       5.     The Defendant's motion for a downward departure or variance (Filing No.

106) is denied.

       DATED this 15th day of November, 2010.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




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